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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                              Plaintiff,

                                                             Case No. 1:22-cr-00098-KWR-1
        -vs-


JOSE MANUEL CORONEL-SIGALA,

                              Defendant.


      ORDER DENYING OPPOSED MOTION TO GRANT DEFENDANT FURLOUGH

        THIS MATTER is before the Court on defendant Jose Manuel Coronel-Sigala’s

Opposed Motion to Grant Defendant Furlough, filed on May 26, 2022. Doc. 35. Mr. Coronel-

Sigala is seeking release from custody for ten hours on June 3, 2022, so that he can attend his

deceased mother’s visitation service. See id. at 1. Both the Probation Office and the United

States oppose Mr. Coronel-Sigala’s request. Id. at 3. The Court denies Mr. Coronel-Sigala’s

motion for the following reasons.

 I.     Background

        Mr. Coronel-Sigala was arrested on November 18, 2021, based on a criminal complaint

that charged him with reentry of a removed alien, in violation of 8 U.S.C. §§ 1326 (a)(1) and

(b)(2). See Doc. 1. According to the complaint, Mr. Coronel-Sigala was found in the Bernalillo

County Metropolitan Detention Center because he had been arrested for possession of

methamphetamine and on two failure-to-appear warrants for DWI out of Socorro, New Mexico.

Id. at 2. Mr. Coronel-Sigala had the opportunity for a detention hearing on November 23, 2021,

but he waived his right to contest his detention. Doc. 16. After considering the pretrial services
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report, the Court found by a preponderance of evidence that Mr. Coronel-Sigala likely would fail

to appear if released. Doc. 18 at 2. The Court based its finding on the strength of the evidence

against Mr. Coronel-Sigala (he had been convicted of reentry of a removed alien four times since

1999), his criminal history, his history of alcohol or substance abuse (he had multiple DWI

arrests and convictions), his lack of a stable residence, his significant ties outside the United

States, his lack of legal status in the United States, the fact that he would be subject to removal

after serving any sentence, his prior failures to appear, his use of aliases or false documents, and

his prior violations of probation. See id. at 2–3. Mr. Coronel-Sigala’s pretrial services report

showed that he has failed to appear or failed to comply with probation at least 14 times. See

Doc. 11 at 6–13. In addition to his four convictions for reentry of a removed alien, he has been

convicted of robbery, conspiracy, drinking in public, aggravated battery, attempted false

imprisonment, eluding or fleeing on foot, and several DWIs or DWI-related offenses. See id. at

5–14.

        On January 24, 2022, Mr. Coronel-Sigala pled guilty to an information charging him with

reentry of a removed alien, in violation of 8 U.S.C. §§ 1326(a) and (b). See Docs. 20, 24. He is

scheduled be sentenced on June 21, 2022. See Doc. 34. His presentence report indicates that he

is facing an advisory guideline range of imprisonment of 24 to 30 months. Doc. 31 at 17. It also

shows that he has used several different aliases over the years, and two different social security

numbers and birthdates. See id. at 2. He has been removed from the United States to Mexico six

times since 1997, and he has been identified as an active member of a gang. Id. at 12.

 II.    Mr. Coronel-Sigala’s Motion

        Although Mr. Coronel-Sigala does not state the statutory authority for his temporary

release from custody in his motion, the Court presumes that he is seeking release under 18

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U.S.C. § 3142(i). Under § 3142(i), a judicial officer who ordered a defendant detained 1 may

subsequently “permit the temporary release of the person, in the custody of a United States

marshal or another appropriate person, to the extent that the judicial officer determines such

release to be necessary for preparation of the person’s defense or for another compelling reason.”

18 U.S.C. § 3142(i). Presumably Mr. Coronel-Sigala believes that the death of his mother and

the ability to attend her visitation is a “compelling reason” that would warrant his release. See

Doc. 35.

       First, although the Court is sympathetic to Mr. Coronel-Sigala’s plight, it has been unable

to find any case in which a Court has found that attending a funeral is a “compelling reason” to

temporarily release someone under 18 U.S.C. § 3142(i), and Mr. Coronel-Sigala has not cited

any such case. See Doc. 35. The reality is that many defendants experience significant and even

devastating losses while in custody just as they would while out of custody, but it is not obvious

that § 3142(i) is meant to provide a mechanism for defendants to attend funerals. Courts

typically have granted relief under § 3142(i) only “sparingly to permit a defendant’s release

where, for example, he is suffering from a terminal illness or serious injuries.” United States v.

Hamilton, No. 19-CR-54-01, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020). Recently,

most cases that examine § 3142(i) have been in relation to the Covid-19 pandemic, and most

courts have found that the pandemic and a particular defendant’s increased risks if he or she

became infected do not constitute a compelling reason for temporary release. See, e.g., United

States v. Clark, 448 F. Supp. 3d 1152, 1154–62 (D. Kan. Mar. 25, 2020); United States v. Arvizo,

2020 WL 6384242, *4–*5 (D.N.M. Oct. 30, 2020).



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 Although Judge Yarbrough originally detained Mr. Coronel-Sigala, I accepted his plea and
ordered that he remain in custody under 18 U.S.C. § 3143. See Doc. 25.
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       Second, Mr. Coronel-Sigala bears the burden of proof in showing that his temporary

release is “necessary . . . for another compelling reason.” See Clark, 448 F. Supp. 3d 1152,

1155; United States v. Reese, 2012 WL 13080791, *2 (D.N.M. Apr. 2, 2012). And the Court still

must consider whether Mr. Coronel-Sigala poses either a risk of flight or a danger to the

community if released, even if only for ten hours. See Clark, 448 F. Supp. 3d at 1157–58;

Reese, 2012 WL 13080791, at *2. Indeed, because Mr. Coronel-Sigala already has pled guilty

and is awaiting sentencing, the Court would have to find by clear and convincing evidence that

he is not likely to flee or pose a danger to any other person or the community. See 18 U.S.C.

§ 3143.

       Here, Mr. Coronel-Sigala proposes that he be released, with electronic monitoring, to his

ex-wife, who will take him to the visitation and return him to the detention center the same day.

Doc. 35 at 2–3. But Mr. Coronel-Sigala’s motion does not address the serious risks of flight that

the Court noted in its detention order, and which are further explored in both the pretrial services

report and the presentence report. Mr. Coronel-Sigala has failed to appear and failed to comply

with conditions of supervision many times over the years, and he knows that he will be removed

from the United States after he serves his sentence in this case. He has every incentive to

attempt to disappear before sentencing rather than to return. He obviously has successfully

reentered the United States surreptitiously on multiple occasions, and he has used various aliases

while here. He mostly is caught because of the other offenses he commits, particularly driving

while intoxicated, which itself is dangerous. Further, Mr. Coronel-Sigala has not met his burden

of showing that his temporary release to attend his mother’s visitation is a “compelling reason”

for his release under 18 U.S.C. § 3142(i). The Court will not release Mr. Coronel-Sigala under

these circumstances.

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 III. Conclusion

      IT IS THEREFORE ORDERED that defendant Jose Manuel Coronel-Sigala’s

Opposed Motion to Grant Defendant Furlough (Doc. 35) is DENIED.

      DATED this 26th day of May 2022




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                                               Laura Fashing
                                               United States Magistrate Judge




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